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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     CHARLESTON DIVISION


  IN RE:          BOSTON SCIENTIFIC CORPORATION
                  PELVIC REPAIR SYSTEM PRODUCTS LIABILITY LITIGATION

                                                              MDL NO. 2326
  ____________________________________________________________________________

  THIS DOCUMENT RELATES TO THE FOLLOWING CASES:

  Civil Action Nos.       Eghnayem v. Boston Scientific Corporation, 2:13-cv-07965;
                          Dotres v. Boston Scientific Corporation, 2:13-cv-10077;
                          Nunez v. Boston Scientific Corporation, 2:13-cv-24346;
                          Dubois-Jean v. Boston Scientific Corporation, 2:14-cv-04455;
                          Betancourt v. Boston Scientific Corporation, 2:14-cv-11337.

                                        Pretrial Order # 91
                      (Order Consolidating above Cases for Trial on All Issues)

           Pursuant to Federal Rule of Civil Procedure 42, the above-styled actions are consolidated

  for discovery and trial on all issues. It is ORDERED that Civil Action No. 2:13-cv-07965 is

  designated as the lead case, and all further filings shall be captioned and docketed therein.

     I.       Background

           These cases are five of over 50,000 in this and the six other MDLs assigned to me by the

  Judicial Panel on Multidistrict Litigation. In this MDL, there are over 11,000 cases filed against

  Boston Scientific Corporation. Generally, this MDL arises from the use of transvaginal surgical

  mesh to treat pelvic organ prolapse (“POP”) and stress urinary incontinence (“SUI”). In the

  above style-actions, all of the plaintiffs allege they were implanted with the Pinnacle Pelvic

  Floor Repair Kit (“Pinnacle”), a mesh product used to treat POP. Although different physicians

  implanted the Pinnacle, all of the surgeries were performed in Florida. In addition, all of the

  plaintiffs claim Florida as their state of residence. All of the plaintiffs allege negligence, design
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  defect, manufacturing defect, failure to warn, breach of express warranty, breach of implied

  warranty, and punitive damages. According to the plaintiffs, the Pinnacle has high malfunction

  and complication rates, fails to perform as intended, and causes severe injuries, including

  infection, scarring, nerve damage, and organ perforation.

     II.      Legal Standard

           “Rule 42(a) permits consolidation and a single trial of several cases on the court’s

  docket, or of issues within those cases . . . .” 9A Charles Alan Wright & Arthur Miller, Federal

  Practice & Procedure § 2381 (3d. ed. 2008). Rule 42(a) provides the following:

            (a) Consolidation. If actions before the court involve a common question of
            law or fact, the court may: (1) join for hearing or trial any or all matters at
            issue in the actions; (2) consolidate the actions; or (3) issue any other orders to
            avoid unnecessary cost or delay.

           Rule 42(a) gives district courts broad discretion to consolidate cases. See Arnold v. E. Air

  Lines, Inc., 681 F.2d 186, 192 (4th Cir. 1982) (“The decision whether to sever or to consolidate

  whole actions or sub-units for trial is necessarily committed to trial court discretion.”);

  Henderson v. United States, No. 6:07-cv-00009, 2008 WL 1711404, at *5 (W.D. Va. Apr. 11,

  2008) (“The decision to consolidate is committed to Court’s discretion and consolidation may be

  initiated sua sponte.”). However, the court’s discretion to consolidate under Rule 42(a) is not

  without limits. When considering whether to consolidate several actions for trial, the district

  court must consider the following factors from Arnold v. Eastern Airlines, Inc.:

            [1] whether the specific risks of prejudice and possible confusion [are]
            overborne by the risk of inconsistent adjudications of common factual and
            legal issues,

            [2] burden on the parties,

            [3] witnesses and available judicial resources posed by multiple lawsuits,

            [4] the length of time required to conclude multiple suits as against a single

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             one, and

             [5] the relative expense to all concerned of the single-trial, multiple-trial
             alternatives.

  681 F.2d at 193.

            Generally, under Rule 42(a), when two causes of action involve common witnesses,

  identical evidence, and similar issues, judicial economy will generally favor consolidation. See

  Johnson v. Celotex Corp., 899 F.2d 1281, 1284-85 (2d Cir. 1990). Consolidation of actions

  involving common questions of law and fact also avoids the risk of inconsistent judgments.

  Switzenbaum v. Orbital Scis. Corp., 187 F.R.D. 246, 248 (E.D. Va. 1999). Nevertheless, “even

  where cases involve some common issues of law or fact, consolidation may be inappropriate

  where individual issues predominate.” Michael v. Wyeth, LLC, No. 2:04-cv-0435, 2011 WL

  1527581, at *2 (S.D. W. Va. Apr. 20, 2011) (Copenhaver, J.) (internal quotations omitted).

     III.      Discussion

               A. Common Issues of Law and Fact Predominate

            As an initial matter, I FIND that common issues of law and fact presented by these cases

  favor consolidation. These cases implicate only Florida law. Additionally, these cases involve

  the same product, Pinnacle, which was manufactured by the same and only defendant. All of the

  plaintiffs are Florida residents and were implanted with the device in Florida. In addition, the

  implantation of the plaintiffs occurred in a relatively short time span – between 2008 and 2011.

            According to the Master Complaint, following the implantation of the Pinnacle, the

  plaintiffs claim they suffered similar injuries – “erosion, mesh contraction, infection, fistula,

  inflammation, scar tissue, organ perforation, dyspareunia (pain during sexual intercourse), blood

  loss, neuropathic and other acute and chronic nerve damage and pain, pudendal nerve damage,

  pelvic floor damage, and chronic pelvic pain.” (Master Compl. ¶ 45).

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          Even if these cases were not consolidated, evidence of substantially similar accidents and

  injuries are admissible to show “the dangerous character of an instrumentality and also to show

  the defendant’s knowledge.” See Jackson v. H.L. Bouton Co., Inc., 630 So. 2d 1173, 1176 (Fla.

  Dist. Ct. App. 1994); see also Worsham v. A.H. Robins Co., 734 F.2d 676, 688 (11th Cir. 1984).

  While there will be separate evidence relating to failure to warn and individual damages, the

  similarities in these cases, particularly as to the claim of design defect, far outweigh any

  differences. In addition, carefully crafted jury instructions and special interrogatories can avoid

  the confusion that may arise due to these differences. See generally Neal v. Carey Canadians

  Mines, Ltd., 548 F. Supp. 357 (E.D. Pa. 1982), aff’d, 760 F.2d 481(3d Cir. 1985).

               B. The Arnold Factors Favor Consolidation

          I also FIND the Arnold factors weigh in favor of consolidation. The more cases that are

  tried together in this MDL totaling over 11,000 cases, the sooner the parties will come to

  understand the true nature of these cases, their values, the weaknesses and strengths in their cases

  and the cost of trying them. At this time, the bellwether process is not viable in this MDL, and,

  as a result, consolidation and transfer to another jurisdiction for trial of multiple cases is an

  equally efficient means of providing meaningful information to the parties in the absence of a

  bellwether process. Consolidation of cases in multidistrict litigation is not new, and the risk of

  juror confusion can be avoided if the evidence is presented in an organized manner with

  carefully crafted jury instructions.1 Regarding the burden on the parties and witnesses and

  available judicial resources posed by multiple lawsuits, expert witnesses in these cases will likely

  be nearly identical in each case, only case-specific discovery will differ. MDL litigation in and

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    Moreover, the potential for jury confusion is further decreased where a court consolidates only a few actions for
  trial, as is the case here. See, e.g., Hendrix v. Raybestos-Manhattan, Inc., 776 F.2d 1492 (11th Cir. 1985)
  (consolidating four claims); Oman v. Johns-Manville Corp., 764 F.2d 224 (4th Cir. 1985) (consolidating four
  claims); Neal v. Carey Canadian Mines, Ltd., 548 F. Supp. 357 (E.D. Pa. 1982), aff’d, 760 F.2d 481 (3rd Cir. 1985)
  (consolidating fifteen claims). Here, I am only consolidating five actions for trial.

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  of itself poses a substantial burden on the parties. However, as these cases continue without

  resolution, and the number of cases continues to grow, the burden on the parties may ultimately

  be less if a consolidated trial leads the parties to resolution more quickly than individual trials.

  As with the bellwether trials I have conducted in this matter, I will place strict time constraints

  on the length of the consolidated trial in these matters; thereby saving both judicial resources and

  the resources of the parties involved.

           I note in its Transfer Order dated February 7, 2012, the Judicial Panel on Multidistrict

  Litigation found that the actions contained in this MDL and MDL 2325 and 2327 involved

  common questions of fact and that centralization would “serve the convenience of the parties and

  witnesses and promote the just and efficient conduct of this litigation.” (Transfer Order [Docket

  1], at 3); see also In re Mentor Corp. Obtape Transobturator Sling Prods. Liab. Litig., MDL

  2004, 2010 WL 797273, at *3 (M.D. Ga. Mar. 3, 2010) (“It has already been determined that

  cases referred to a district court by the Judicial Panel on Multidistrict Litigation involve common

  questions of law and fact such that it is deemed appropriate, and preferable, that the pretrial

  aspect of the cases be handled in a consolidated manner.”). These observations, combined with

  my above determinations, logically compel the liberal use of Rule 42(a) for the purposes of this

  multidistrict litigation. See In re Mentor Corp. Obtape Transobturator Sling Prods. Liab. Litig.,

  2010 WL 797273, at *3 (“Consolidation appears to be a particularly appropriate tool that should

  be seriously considered in modern-day multidistrict litigation.”). Accordingly, I will consolidate

  these actions under Rule 42.

     IV.      Conclusion

           Pursuant to Federal Rule of Civil Procedure 42, the above-styled actions are consolidated

  for discovery and trial on all issues. It is ORDERED that Civil Action No. 2:13-cv-07965 is



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  designated as the lead case, and all further filings shall be captioned and docketed therein. At the

  conclusion of pretrial proceedings, it will be necessary to remand the cases to the Southern

  District of Florida, and I intend to try the consolidated cases there by intercircuit assignment with

  a planned trial date beginning on September 29, 2014, at 8:30 a.m. It is further ORDERED

  that the parties submit a proposed Docket Control Order for entry in 2:13-cv-07965 on or before

  April 18, 2014.

         The court DIRECTS the Clerk to file a copy of this order in 2:12-md-2326 and the

  above-referenced cases and it shall apply to each member related case previously transferred to,

  removed to, or filed in this district, which includes counsel in all member cases up to and

  including civil action number 2:14-cv-14411. In cases subsequently filed in this district, a copy

  of the most recent pretrial order will be provided by the Clerk to counsel appearing in each new

  action at the time of filing of the complaint. In cases subsequently removed or transferred to this

  court, a copy of the most recent pretrial order will be provided by the Clerk to counsel appearing

  in each new action upon removal or transfer. It shall be the responsibility of the parties to review

  and abide by all pretrial orders previously entered by the court. The orders may be accessed

  through the CM/ECF system or the court’s website at www.wvsd.uscourts.gov.

                                                ENTER: April 11, 2014




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